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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO


 CASE NO.      22-cr-00113-CMA-GPG

 UNITED STATES OF AMERICA,

               Plaintiff,

 v.

 DEBRA CAMPBELL,

             Defendant.
 _____________________________________________________________________________

                            NOTICE OF DISPOSITION
 _____________________________________________________________________________

        Defendant, Debra Campbell, by and through counsel, Mary V. Butterton, Assistant Federal

 Public Defender, hereby notifies this Honorable Court that a disposition has been reached in her

 case with the government. The defendant would request a change of plea hearing for the court to

 consider a proposed plea agreement.

        Respectfully submitted this 13th day of April, 2022.


                                             Respectfully submitted,

                                             VIRGINIA L. GRADY
                                             Federal Public Defender


                                             s/ Mary V. Butterton
                                             MARY V. BUTTERTON
                                             Assistant Federal Public Defender
                                             633 17th Street, Suite 1000
                                             Denver, CO 80202
                                             Telephone: (303) 294-7002
                                             FAX: (303) 294-1192
                                             Mary_butterton@fd.org
                                             Attorney for Defendant
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 13, 2022, I electronically filed the foregoing with the Clerk
 of Court using the CM/ECF system, which will send notification of such filing to the following e-
 mail addresses:

        Pegeen Rhyne, Assistant United States Attorney
        Email: Pegeen.rhyne@usdoj.gov

 and I hereby certify that I have mailed or served the document or paper to the following non-
 CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-participant’s
 name:

        Debra Cambell (via U.S. Mail)


                                              s/ Mary V. Butterton
                                              MARY V. BUTTERTON
                                              Assistant Federal Public Defender
                                              633 17th Street, Suite 1000
                                              Denver, CO 80202
                                              Telephone: (303) 294-7002
                                              FAX: (303) 294-1192
                                              Mary_butterton@fd.org
                                              Attorney for Defendant




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